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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                         Plaintiff,
                                                        Case No. 1:25-cv-00716 (BAH)
 v.
                                                        Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                         Defendants.


      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR SUMMARY
           JUDGMENT, DENYING DEFENDANTS’ MOTION TO DISMISS,
           AND ENTERING DECLARATORY AND INJUNCTIVE RELIEF

        Upon consideration of plaintiff’s motion for summary judgment, ECF No. __, defendants’

cross motion to dismiss, ECF No. __, the parties’ respective legal memoranda, declarations, and

exhibits submitted in support of or in opposition to each motion, and the entire record herein, for

the reasons set forth in the accompanying Memorandum Opinion, it is hereby--

        ORDERED that plaintiff’s motion for summary judgment, ECF No. __, is GRANTED; it

is further

        ORDERED that defendants’ motion to dismiss, ECF No. __, is DENIED; it is further

        DECLARED that Executive Order 14230, 90 Fed. Reg. 11781 (Mar. 11, 2025), issued by

the President on March 6, 2025, entitled “Addressing Risks from Perkins Coie LLP,” is unlawful

because it violates the First, Fifth, and Sixth Amendments to the U.S. Constitution, exceeds the

President’s constitutional authority under Article II, and violates the separation of powers. The

Order therefore is null and void; it is further

        ORDERED that:
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        (1) defendants are permanently ENJOINED from implementing or enforcing Executive

Order 14230 in any way;

        (2) defendants are permanently ENJOINED from using or considering in any way or for

any purpose the statements laid out in Section 1 of Executive Order 14230, including but not

limited to in any interactions with plaintiff or plaintiff’s clients or with employees or other

personnel of plaintiff or plaintiff’s clients;

        (3) defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

Attorney General; the Office of Management and Budget; and Russell Vought, in his official

capacity as Director of the Office of Management and Budget, are DIRECTED additionally to

immediately issue direction, which shall include a copy of this Order, to all defendants,

departments, agencies and other entities subject to Executive Order 14230, including their

respective officers, staff, employees and contractors, to:

                (a) rescind any implementation or enforcement of Executive Order 14230,

                    including any use, consideration, or reliance on the statements in Section 1 of

                    the Order;

                (b) rescind all formal or informal guidance or other direction provided to officers,

                    staff, employees, or contractors to communicate, effectuate, implement, or

                    enforce Executive Order 14230 in whole or part, including Sections 2 and 4 that

                    were not subject to this Court’s Temporary Restraining Order, ECF No. 21;

                (c) disregard Executive Order 14230 in its entirety, including the statements in

                    Section 1 of the Order, in their dealings with Perkins Coie LLP1 and personnel



1
 Perkins Coie LLP includes its affiliates, predecessors, successors, assigns, directors, officers,
partners, employees, and agents.

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         or clients known or believed by them to be associated with Perkins Coie LLP,

         and carry on with their ordinary course of business absent Executive Order

         14230;

      (d) immediately communicate to every recipient of a formal or informal request for

         disclosure of any relationship with Perkins Coie LLP or any person associated

         with the firm, made pursuant Executive Order 14230, that such request is

         permanently rescinded; and cease making such requests for disclosure pursuant

         to Executive Order 14230;

      (e) cease any security clearance review, made or initiated pursuant to Sections 1 or

         2(a) of Executive Order 14230, and to reverse any suspension or revocation of

         any active security clearances, made pursuant to Sections 1 or 2(a) of Executive

         Order 14230, although nothing in this Order shall bar defendants from

         suspending or revoking any security clearances for reasons other than the

         general policy announced in Executive Order 14230, an association with

         Perkins Coie LLP, or the reasons embodied in Section 1 of Executive Order

         14230;

      (f) act in good faith to take such other steps as are necessary to prevent the

         implementation or enforcement of Executive Order 14230 and to reverse any

         implementation or enforcement of Executive Order 14230 that has occurred or

         is occurring;

      (g) comply with all forms of relief in this Order directed to defendants; and

      (h) the direction shall also notify all recipients of the direction that they are bound

         by the Court’s order, under penalty of contempt.



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For the avoidance of doubt, the recipients of the foregoing direction shall include, but not be

limited to, (i) defendants; (ii) the departments, agencies and other entities listed on Appendix A

hereto; (iii) any other departments, agencies, and entities that received Executive Order 14230 or

guidance related to Executive Order 14230; and (iv) any officers, staff, employees and contractors

of any of the foregoing who were provided with Executive Order 14230 or guidance related to

Executive Order 14230;

       (4) defendants are DIRECTED to rescind all formal or informal guidance or other

direction provided to officers, staff, employees, or contractors of the federal government to

communicate, effectuate, implement, or enforce Executive Order 14230, including Sections 2 and

4 that were not subject to this Court’s Temporary Restraining Order, ECF No. 21;

       (5) defendants are DIRECTED immediately to notify all officers, staff, employees, and

contractors subject to Executive Order 14230 that Executive Order 14230 is unlawful, null and

void in its entirety and therefore should be disregarded, including all prior formal or informal

advice, opinions, or direction previously received or communicated to effectuate, implement, or

enforce Executive Order 14230, and that all departments, agencies, officers, staff, employees, and

contractors of the federal government should carry on with their ordinary course of business with

Perkins Coie LLP, its personnel, and clients and their personnel known or believed by them to be

associated with Perkins Coie LLP, absent Executive Order 14230;

       (6) defendants are DIRECTED to immediately (a) communicate to every recipient of a

formal or informal request for disclosure of any relationship with Perkins Coie LLP or any person

associated with the firm, made pursuant to Section 3(a) of Executive Order 14230, that such

request is permanently rescinded; and (b) cease making such requests for disclosure, pursuant to

Section 3(a) of Executive Order 14230;



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         (7) defendants are DIRECTED to cease any security clearance review, made pursuant to

Sections 1 or 2(a) of Executive Order 14230, and to reverse any suspension or revocation of any

active security clearances, made pursuant to Sections 1 or 2(a) of Executive Order 14230, although

nothing in this Order shall bar defendants from suspending or revoking any security clearances for

reasons other than the general policy announced in Executive Order 14230, an association with

Perkins Coie LLP, or the reasons embodied in Section 1 of Executive Order 14230;

         (8) defendants the Office of Management and Budget and Russell Vought, in his official

capacity as director of OMB, are DIRECTED to identify all government goods, property,

material, and services, provided for the benefit of Perkins Coie LLP, that were previously

identified pursuant to Section 2(b) of Executive Order 14230, and to immediately issue direction

to the relevant heads of agencies that they are to reverse any cessation of the provision of such

material or services, if such cessation was done pursuant to Executive Order 14230;

         (9) defendants U.S. Department of Justice; Pamela Bondi in her official capacity as U.S.

Attorney General; Equal Employment Opportunity Commission; and Andrea R. Lucas, in her

official capacity as Acting Chair of the EEOC, are DIRECTED immediately to cease any

investigation of Perkins Coie LLP made pursuant to Section 4 of Executive Order 14230, and to

withdraw any requests for information from Perkins Coie LLP or other investigative steps made

pursuant to Section 4 of Executive Order 14230, including defendant Lucas’s March 17, 2025

letter titled “Review of Perkins Coie LLP’s Compliance with Title VII of the Civil Rights Act of

1964”;

         (10) defendants are ORDERED that they must, in good faith, take such other steps as are

necessary to prevent the implementation or enforcement of Executive Order 14230 and to reverse




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any implementation or enforcement of Executive Order 14230 that has occurred or is occurring;

and

       (11) defendants are ORDERED to file a status report within 2 business days of this Order

describing the steps taken to ensure compliance with this Order and certifying compliance with its

requirements; and it is further

       ORDERED that this Court shall retain jurisdiction to enforce this Order.

       SO ORDERED.

Dated: ____________________


                                                            ______________________________
                                                            BERYL A. HOWELL
                                                            United States District Judge




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                                       Appendix A

   Administration for Strategic Preparedness and Response
   Advisory Council on Historic Preservation
   Biomedical Advanced Research and Development Authority
   Bonneville Power Administration
   Bureau of the Census
   Bureau of Economic Analysis
   Bureau of Indian Affairs
   Bureau of Industry and Security
   Bureau of Land Management
   Bureau of Ocean Energy Management
   Bureau of Reclamation
   Bureau of Safety and Environmental Enforcement
   CHIPS Program Office
   Committee on Foreign Investment in the United States
   Commodity Futures Trading Commission
   Consumer Financial Protection Bureau
   Defense Contract Audit Agency
   Defense Contract Management Agency
   Defense Logistics Agency
   Department of Agriculture
   Department of the Army
   Department of Commerce
   Department of Defense
   Department of Energy (including Oak Ridge National Laboratory)
   Department of Health & Human Services
   Department of Homeland Security
   Department of the Interior
   Department of Justice (including Antitrust, CCIPS, Civil, Fraud)
   Department of Labor
   Department of State
   Department of Transportation
   Department of Toxic Substance Controls
   Department of the Treasury
   Department of Veterans Affairs
   Directorate of Defense Trade Controls
   Drug Enforcement Administration
   Environmental Protection Agency
   Equal Employment Opportunity Commission
   Executive Office of the President (including CEQ, OMB, and OSTP)
   Fannie Mae and Freddie Mac
   Federal Aviation Administration
   Federal Bureau of Investigation

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   Federal Bureau of Prisons
   Federal Communications Commission
   Federal Deposit Insurance Corporation
   Food & Drug Administration
   Federal Election Commission
   Federal Emergency Management Agency
   Federal Energy Regulatory Commission
   Federal Highway Administration
   Federal Permitting Improvement Steering Council
   Federal Transit Administration
   Financial Crimes Enforcement Network
   Financial Industry Regulatory Affairs
   Government Accountability Office
   Grid Deployments Office
   Housing and Urban Development
   Internal Revenue Service
   International Trade Administration
   Loan Programs Office
   National Institutes of Health
   National Labor Relations Board
   National Marine Fisheries Service
   National Oceanic and Atmospheric Administration
   National Park Service
   National Renewable Energy Lab
   Office of Clean Energy Demonstrations
   Office of Federal Contract Compliance Programs
   Office of Foreign Assets Control
   Office of the Comptroller of the Currency
   Office of the U.S. Trade Representative
   Pacific States Marine Fisheries Commission
   Patent Trial & Appeal Board
   Rural Utilities Service
   Securities & Exchange Commission
   Small Business Administration
   Trademark Trial & Appeal Board
   U.S. Army Corps of Engineers
   U.S. Attorney’s Offices
   U.S. Copyright Office
   U.S. Citizenship and Immigration Services
   U.S. Customs and Border Protection
   U.S. Fish & Wildlife Service
   U.S. Forest Service
   U.S. Immigration and Customs Enforcement
   U.S. International Trade Commission

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   U.S. Patent & Trademark Office
   U.S. Postal Inspection Service
   U.S. Secret Service




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